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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
UNITED STATES, Case No.: 2:17-CR-00204-MCA
V. | Criminal Action
KARTHIK NIMMALA, | NOTICE OF MOTION FOR EARLY

Defendant.

_ TERMINATION OF PROBATION

 

To:

Honorable Madeline Cox Arleo, U.S.D,J.

United States District Court

Martin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, NJ 07101

United States Attorney's Office
970 Broad Street
Newark, NJ 07102

Probation Officer Christopher Washington
United States Probation

Northern District of Georgia

900 U.S. Courthouse

75 Ted Turner Drive SW

Atlanta, GA 30303

United States Probation
District of New Jersey

50 Walnut Street, Room 1005
Newark, NJ 07101

Madams and Sirs:

Please take notice that at a time and date to be set by the Court, Defendant

Karthik Nimmala, by his attorney Paul B. Brickfield of Brickfield & Donahue,

shall move this Court pursuant to Title 18, United States Code, Section 3564(c)

for termination of probation. A letter brief and Certification of Karthik Nimmala
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are submitted in support of this motion.

Dated: October 29, 2018

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Attorneys for Defendant
Karthik Nimmala
